                                                      Notice Recipients
District/Off: 0314−1                           User: BRushow                         Date Created: 8/29/2008
Case: 1:08−bk−02603−MDF                        Form ID: credsres                     Total: 34


Recipients of Notice of Electronic Filing:
tr          Lawrence V. Young (Trustee)          lyoungtrustee@cgalaw.com
aty         Keith B DeArmond            service@dearmondlaw.com
                                                                                                                   TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Warren A. Royea, Sr.          1640 Blue Jay Drive        Dover, PA 17315
jdb         Gail M. Royea          1640 Blue Jay Drive        Dover, PA 17315
3051532     American Education Services           1200 North 7th Street       Harrisburg, PA 17102
3051533     Americredit         P.O. Box 183593         Arlington, TX 76096
3051534     Barclay's Bank of Delaware          125 South West Street        Wilmington, DE 19801
3051535     Capital One         P.O. Box 30281         Salt Lake City, UT 84130
3051536     Chase         800 Brookside Boulevard          Westerville, OH 43081
3051537     Chase Auto Finance Corporation           14800 Frye Road         Fort Worth, TX 76155
3051538     Citi Bank         P.O. Box 499         Hanover, MD 21076
3051531     DeArmond &Associates             11 East Market Street Third Floor       York, PA 17401
3067651     Fifth Third bank        PO Box 3789          Evansville, IN 47736−3789
3051539     First Capital Fifth Third       20 Northwest First Street       Evansville, IN 47708
3051541     G.E. Money Bank           P.O. Box 30762         Salt Lake City, UT 84130
3051540     G.E. Money Bank           P.O. Box 981439         El Paso, TX 79998
3051542     GEMB/Walmart             P.O. Box 981400         El Paso, TX 79998
3051543     Granite State Management           P.O. Box 2097         Concord, NH 03302
3051544     HSBC Bank           P.O. Box 5253         Carol Stream, IL 60197
3051545     Kay Jewelers         P.O. Box 740425         Cincinnati, OH 45274
3051546     Merrick Bank          P.O. Box 1500         Draper, UT 84020
3051547     PA Department Of Revenue             1 Revenue Place        Harrisburg, PA 17129
3051548     Penncro Associates, Inc.         P.O. Box 1878        Southampton, PA 18966
3051530     Royea Gail M          1640 Blue Jay Drive         Dover, PA 17315
3051529     Royea Warren A Sr           1640 Blue Jay Drive        Dover, PA 17315
3051549     Sallie Mae Foundation          P.O. Box 9500         Wilkes Barre, PA 18773
3051550     Saxon Mortgage          478 Mercantile Drive         Fort Worth, TX 76137
3051551     Spirit Of America National Bank          1103 Allen Drive         Milford, OH 45150
3051552     Target        P.O. Box 59231          Minneapolis, MN 55459
3051553     U.S. Cellular        C/O Portfolio Recovery         120 Corporate Boulevard        Norfolk, VA 23502
3051554     Washington Mutual           P.O. Box 660509         Dallas, TX 75266
3051555     Wells Fargo Auto Finance           711 West Broadway Road          Tempe, AZ 85282
3051556     Wells Fargo Financial         P.O. Box 94498         Las Vegas, NV 89193
3051557     York Adams Tax Bureau             P.O. Box 15627        York, PA 17405
                                                                                                                   TOTAL: 32




    Case 1:08-bk-02603-MDF Doc 24-1 Filed 08/29/08 Entered 08/29/08 13:38:10                                             Desc
                       Res - Contd 341: Notice Recipients Page 1 of 1
